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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                            19-CR-1631-DHU

KAMAL BHULA,

                Defendant.


                   DEFENDANT KAMAL BHULA’S EXHIBIT LIST

        COMES NOW Defendant Kamal Bhula, by and through his legal counsel, Nicole

W. Moss, and hereby provides the following notice of his intent to introduce any of the

following exhibits at any trial or hearing in this matter:

     A. Jane Doe 1 cell phone extraction reports in full or any portion thereof;

     B. Jane Doe 2 cell phone extraction reports in full or any portion thereof;

     C. Jane Doe 3 cell phone extraction reports in full or any portion thereof;

     D. A.S. cell phone extraction reports in full or any portion thereof;

     E. Cell phone extraction report for phone number 505-359-1493;

     F. Alexa Shockley Facebook Feed including Photos and Posts in full or any portion

        thereof;

     G. Alexa Shockley Stax Facebook Feed including Photos and Posts in full or any

        portion thereof;

     H. Court records of criminal convictions of Willie Horton, including:

            a. Robbery in cause number C9958x in the District Court, Clark County,

                Nevada;

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    b. H & S Narcotic Controlled Substance in cause number FV107759 in the

       Superior Court, San Bernadino County, California;

    c. Trafficking (By Possession With Intent To Distribute)(Cocaine) in cause

       number D-202-CR-1998-03560 in the Second Judicial District Court,

       Bernalillo County, New Mexico;

    d. Possession of a Controlled Substance (Cocaine) in cause number D-202-

       CR-1999-00060 in the Second Judicial District Court, Bernalillo County,

       New Mexico;

    e. Possession of a Controlled Substance (Cocaine) in cause number D-202-

       CR-2005-1190 in the Second Judicial District Court, Bernalillo County,

       New Mexico;

    f. Trafficking (By Possession With Intent To Distribute)(Cocaine) in cause

       number D-202-CR-2008-01000 in the Second Judicial District Court,

       Bernalillo County, New Mexico;

    g. Trafficking (By Possession With Intent To Distribute)(Cocaine) in cause

       number D-202-CR-2016-03839 in the Second Judicial District Court,

       Bernalillo County, New Mexico;

    h. Conspiracy to Commit Sex Trafficking in violation of 18 U.S.C. §1594(c)

       and Sex Trafficking by Means of Force, Fraud, Threats, and Coercion, and

       Aiding and Abetting in violation of 18 U.S.C. §1591(a)(1) and (b)(1) and

       18 U.S.C. §2 in cause number 19-cr-1631 in the United States District

       Court for the District of New Mexico;




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   I. Court records of criminal convictions regarding Jane Doe 1, Jane Doe 2, and Jane

       Doe 3;

   J. Any admissible evidence tendered by the Government;

   K. Any evidence necessary for impeachment or rebuttal purposes.

Mr. Bhula may amend this Notice as additional information becomes available.



                                     Respectfully submitted,

                                     /s/ Nicole W. Moss
                                     Nicole W. Moss
                                     514 Marble Ave. NW
                                     Albuquerque, NM 87102
                                     (505) 244-0950


                            CERTIFICATE OF SERVICE

I hereby certify that a copy of this pleading was served as sealed to opposing counsel via
the CM/ECF system on this 2nd day of September 2022.

/s/ Nicole W. Moss
Nicole W. Moss




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